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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION




Stefanie Ridgway,                      :

           Plaintiff,                  :

     v.                                :     Case No. 2:10-cv-66

Regent Asset Management                :     JUDGE MARBLEY
Solutions, Inc.,
                                       :
           Defendant.

                                    ORDER

     A notice of dismissal has been filed in this case.
Fed.R.Civ.P. 41(a)(1) provides that in a case where an answer or
a motion for summary judgment has been filed, the case can be
voluntarily dismissed only by "filing a stipulation of dismissal
signed by all parties who have appeared in the action."               The
notice of dismissal (#8) is not signed by all of the parties who
have appeared in the action, or by their counsel, and it
therefore does not comply with Rule 41(a)(1).             Consequently, it
does not have the effect of dismissing this case.
     If the parties desire to have the case dismissed, they
shall, within fourteen days, file a stipulation of dismissal that
complies with Rule 41(a)(1).        If, for some reason, the required
signatures cannot be obtained, any party may file a motion for an
order of dismissal under Fed.R.Civ.P. 41(a)(2).



                                    /s/ Terence P. Kemp
                                    United States Magistrate Judge
